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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                NO. 4:09CR00305-02 JLH

RALPH FRANCIS DELEO                                                               DEFENDANT

                                         JUDGMENT

       Pursuant to the Opinion and Order entered separately today, Ralph Francis Deleo’s motion

to vacate and set aside his sentence pursuant to 28 U.S.C. § 2255 is denied. His motion is hereby

dismissed with prejudice.

       IT IS SO ORDERED this 6th day of January, 2014.




                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
